 IT IS SO ORDERED.

 Dated: 14 December, 2023 12:04 AM




                     IN THE UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

In re:                                           )       Case No. 17-17361
                                                 )
RICHARD M. OSBORNE,                              )       Chapter 7
                                                 )
         Debtor.                                 )       Judge Suzana Krstevski Koch

   ORDER GRANTING MOTION OF TRUSTEE TO SELL PERSONAL PROPERTY
     (MEMBERSHIP INTERESTS IN 8491 MAYFIELD ACQUISITIONS, LLC)

         This matter is before the Court on the motion (the “Motion”) of the trustee, Kari B.

Coniglio, for an order authorizing the sale by private sale, free and clear of liens, encumbrances,

and other interests, of personal property consisting of the Debtor’s membership interests in 8491

Mayfield Acquisitions, LLC (the “Membership Interests”). Time is of the essence in

consummating the sale of the Membership Interests (the “Sale Transaction”). In order to maximize

the value of the Membership Interests to the bankruptcy estate, it is essential that the Sale

Transaction occur within the time constraints set forth in the Membership Interests Purchase

Agreement, once such agreement is executed by the Trustee. Accordingly, there is cause to waive




17-17361-skk       Doc 1351   FILED 12/14/23         ENTERED 12/14/23 10:16:19         Page 1 of 5
the stay contemplated by Bankruptcy Rule 6004. Upon review of the Motion, and the related

notices, the Court finds that the requested relief is well-taken.

           IT IS HEREBY ORDERED, ADJUDGED AND DECREED THAT:

           1.       The Motion is GRANTED.

           2.       The Trustee is authorized to immediately execute the Membership Interests

Purchase Agreement with the Buyer1 and sell the Membership Interests to the Buyer free and clear

of liens, encumbrances, and other interests.

           3.       If 8941 Mayfield Acquisitions, LLC (“8491”) or its members elect to purchase the

Membership Interests as contemplated in the Purchase Agreement, the Trustee is authorized under

11 U.S.C. § 363 to immediately execute all necessary documents to transfer the Membership

Interests to the electing party in exchange for $15,000.00 or greater.

           4.       Notwithstanding Bankruptcy Rule 6004(h), this Order shall be effective and

enforceable immediately upon entry and its provisions shall be self-executing. In the absence of

any person or entity obtaining a stay pending appeal, the Buyer and the Trustee are free to close

the Sale Transaction under the Purchase Agreement, once such agreement is executed by the

Trustee, at any time pursuant to the terms thereof.

           5.       The Court retains exclusive jurisdiction with regard to all matters, claims, rights,

issues or disputes arising from or related to the implementation of this Order and relief provided

for herein.




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    Capitalized terms not otherwise defined herein shall have the same meaning as in the Motion.

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17-17361-skk          Doc 1351        FILED 12/14/23           ENTERED 12/14/23 10:16:19           Page 2 of 5
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Respectfully submitted,

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                                               3


17-17361-skk    Doc 1351     FILED 12/14/23        ENTERED 12/14/23 10:16:19         Page 3 of 5
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                                           4


17-17361-skk   Doc 1351   FILED 12/14/23       ENTERED 12/14/23 10:16:19   Page 4 of 5
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                                              5


17-17361-skk    Doc 1351     FILED 12/14/23       ENTERED 12/14/23 10:16:19   Page 5 of 5
